                                  Case 2:15-bk-03600-FMD                          Doc 10      Filed 04/21/15     Page 1 of 55
B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
  In re          Blake Chandler Zinn                                                                           Case No.     9:15-bk-03600
                                                                                                          ,
                                                                                      Debtor
                                                                                                               Chapter                       13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF             ASSETS               LIABILITIES                 OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                    157,866.00


B - Personal Property                                          Yes           4                     28,415.00


C - Property Claimed as Exempt                                 Yes           1


D - Creditors Holding Secured Claims                           Yes           1                                           171,483.22


E - Creditors Holding Unsecured                                Yes           4                                            54,172.50
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           10                                          392,792.57
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           4


I - Current Income of Individual                               Yes           2                                                                        4,543.13
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                        2,598.14
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   30


                                                                       Total Assets               186,281.00


                                                                                           Total Liabilities             618,448.29




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                                  Case 2:15-bk-03600-FMD                         Doc 10      Filed 04/21/15     Page 2 of 55
B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
  In re           Blake Chandler Zinn                                                                         Case No.   9:15-bk-03600
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                             TOTAL


              State the following:

              Average Income (from Schedule I, Line 12)


              Average Expenses (from Schedule J, Line 22)

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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  In re         Blake Chandler Zinn                                                                         Case No.    9:15-bk-03600
                                                                                                ,
                                                                                 Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                       Nature of Debtor's       Wife,     Debtor's Interest in              Amount of
                Description and Location of Property                   Interest in Property     Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

3245 Jessica Terrace, Port Charlotte, FL 33948                         Fee simple                   -                   157,866.00                144,467.00

Lot 4, Block 2736, Port Charlotte Subdivision,
Section 31, as per Plat therof, recorded in Plat book
5, Pages 26A-26F, of the Public Records of
Charlotte County, Florida.




                                                                                                 Sub-Total >           157,866.00          (Total of this page)

                                                                                                        Total >        157,866.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         Blake Chandler Zinn                                                                                Case No.       9:15-bk-03600
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                X
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Couch & loveseat & chair; 28" TV (old style); coffee            -                            650.00
      including audio, video, and                             & end tables; hightop table & 2 bar stools; patio
      computer equipment.                                     table w/5 chairs; DVD player
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

                                                              stove; dishwasher (not working); refrigerator                   -                            300.00
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

                                                              Master bedroom-bed; dresser, men's dresser & 2                  -                            500.00
                                                              night stands
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

5.    Books, pictures and other art                           DVD's; pictures/art                                             -                            300.00
      objects, antiques, stamp, coin,                         Location: 3245 Jessica Terrace, Port Charlotte FL
      record, tape, compact disc, and                         33948
      other collections or collectibles.

6.    Wearing apparel.                                        misc. clothing                                                  -                            400.00
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948




                                                                                                                              Sub-Total >             2,150.00
                                                                                                                  (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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                                  Case 2:15-bk-03600-FMD                       Doc 10       Filed 04/21/15            Page 5 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re         Blake Chandler Zinn                                                                                Case No.       9:15-bk-03600
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

7.    Furs and jewelry.                                       Stainless steel bracelet; stainless steel cross                 -                            100.00
                                                              w/necklace
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

8.    Firearms and sports, photographic,                      Smith & Wesson 9mm                                              -                            350.00
      and other hobby equipment.                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.



                                                                                                                              Sub-Total >               450.00
                                                                                                                  (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Blake Chandler Zinn                                                                                Case No.       9:15-bk-03600
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2003 Ford F-250 SD                                              -                       10,875.00
    other vehicles and accessories.                           approx. mileage: WILL BE SUPPLIED
                                                              VIN: 1FTNW21L43EB61855
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

                                                              2012 Honda Civic LX                                             -                       14,200.00
                                                              approx. mileage: WILL BE SUPPLIED
                                                              VIN: WILL BE SUPPLIED
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X



                                                                                                                              Sub-Total >           25,075.00
                                                                                                                  (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                                  Case 2:15-bk-03600-FMD                      Doc 10       Filed 04/21/15            Page 7 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re         Blake Chandler Zinn                                                                               Case No.        9:15-bk-03600
                                                                                                      ,
                                                                                     Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       Misc. tools; pool table; Spa/Jacuzzi; push lawn                 -                            740.00
    not already listed. Itemize.                              mower; mountain bike; storage cabinets in garage
                                                              Location: 3245 Jessica Terrace, Port Charlotte FL
                                                              33948




                                                                                                                             Sub-Total >                740.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >           28,415.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Blake Chandler Zinn                                                                                   Case No.         9:15-bk-03600
                                                                                                           ,
                                                                                       Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                           Value of                 Current Value of
                   Description of Property                                       Each Exemption                               Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
3245 Jessica Terrace, Port Charlotte, FL 33948                          Fla. Const. art. X, § 4(a)(1); Fla. Stat.                  13,399.00                      157,866.00
                                                                        Ann. §§ 222.01 & 222.02
Lot 4, Block 2736, Port Charlotte Subdivision,
Section 31, as per Plat therof, recorded in Plat
book 5, Pages 26A-26F, of the Public Records
of Charlotte County, Florida.

Household Goods and Furnishings
Couch & loveseat & chair; 28" TV (old style);                           Fla. Const. art. X, § 4(a)(2)                                  650.00                            650.00
coffee & end tables; hightop table & 2 bar
stools; patio table w/5 chairs; DVD player
Location: 3245 Jessica Terrace, Port Charlotte
FL 33948

stove; dishwasher (not working); refrigerator                           Fla. Const. art. X, § 4(a)(2)                                  100.00                            300.00
Location: 3245 Jessica Terrace, Port Charlotte
FL 33948

Books, Pictures and Other Art Objects; Collectibles
DVD's; pictures/art                                 Fla. Const. art. X, § 4(a)(2)                                                      250.00                            300.00
Location: 3245 Jessica Terrace, Port Charlotte
FL 33948

Wearing Apparel
misc. clothing                                                          Fla. Const. art. X, § 4(a)(2)                                      0.00                          400.00
Location: 3245 Jessica Terrace, Port Charlotte
FL 33948




                                                                                                           Total:                  14,399.00                       159,516.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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   In re         Blake Chandler Zinn                                                                                            Case No.    9:15-bk-03600
                                                                                                                   ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U    D    AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N    I
                                                             D   H         DATE CLAIM WAS INCURRED,                         N    L    S       CLAIM
           AND MAILING ADDRESS                               E                                                              T    I    P      WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                           I    Q    U                       PORTION, IF
                                                             T   J          DESCRIPTION AND VALUE                           N    U    T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                O                                                              G    I    E      VALUE OF            ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                            E    D    D    COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxx7972                                                  Car Loan                                                    E
                                                                                                                                 D

Global Wholesale Motor                                          2003 Ford F-250 SD
                                                                approx. mileage: WILL BE SUPPLIED
PO Box 2919
                                                                VIN: 1FTNW21L43EB61855
Fort Myers, FL 33902
                                                            X - Location: 3245 Jessica Terrace, Port
                                                                Charlotte FL 33948
                                                                        Value $                             10,875.00                         12,432.22               1,557.22
Account No. xxxx8940                                            Opened 9/01/99 Last Active 8/28/13
                                                                First Mortgage
                                                                3245 Jessica Terrace, Port Charlotte, FL
MidFirst Bank/Midland Mortgage                                  33948
Attention: Bankruptcy                                           Case No. 14-000415 CA-Judgment
                                                                Lot 4, Block 2736, Port Charlotte
Po Box 26648
                                                            X - Subdivision, Section 31, as per Plat
Oklahoma City, OK 73216                                         therof, recorded in Plat book 5, Pages

                                                                        Value $                            157,866.00                        144,467.00                     0.00
Account No. xxxxxxxx5233                                             Opened 8/01/14 Last Active 1/30/15

Wfs Financial/Wachovia Dealer Srvs                              2012 Honda Civic LX
                                                                approx. mileage: WILL BE SUPPLIED
Po Box 3569
                                                                VIN: WILL BE SUPPLIED
Rancho Cucamonga, CA 91729
                                                            X - Location: 3245 Jessica Terrace, Port
                                                                Charlotte FL 33948
                                                                        Value $                             14,200.00                         14,584.00                 384.00
Account No.




                                                                        Value $
                                                                                                                         Subtotal
 0
_____ continuation sheets attached                                                                                                           171,483.22               1,941.22
                                                                                                                (Total of this page)
                                                                                                                          Total              171,483.22               1,941.22
                                                                                                (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/13)


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  In re         Blake Chandler Zinn                                                                                                Case No.            9:15-bk-03600
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             3         continuation sheets attached
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                                  Case 2:15-bk-03600-FMD                               Doc 10         Filed 04/21/15          Page 11 of 55
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Blake Chandler Zinn                                                                                         Case No.     9:15-bk-03600
                                                                                                                ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                         Taxes and Certain Other Debts
                                                                                                                          Owed to Governmental Units
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
Account No. xP71A                                                    2003                                                     E
                                                                                                                              D

Internal Revenue Service                                             Federal Tax Lien
Department of Treasury                                               2003, 2004, 2005, 2007 & 2008 Taxes                                                 0.00
PO Box 69                                                            Blake Zinn
                                                                 -
Memphis, TN 38101-0069

                                                                                                                                            12,636.25             12,636.25
Account No. xx4193                                                   09/30/86

Internal Revenue Service                                             Civil Penalty 1986
Department of Treasury                                               Federal Tax Lien                                                                    0.00
PO Box 69
                                                                 -
Memphis, TN 38101-0069

                                                                                                                                             1,936.35               1,936.35
Account No. xxxxxxxxx1522                                            1/24/13

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                               837.08                 837.08
Account No. xxxxxxxxx3245                                            12/7/11

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                               336.36                 336.36
Account No. xxxxxxxxx6726                                            7/20/11

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises LLC                                                              0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                             1,914.91               1,914.91
       1
Sheet _____    3
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)           17,660.95             17,660.95




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                                  Case 2:15-bk-03600-FMD                               Doc 10         Filed 04/21/15          Page 12 of 55
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Blake Chandler Zinn                                                                                         Case No.     9:15-bk-03600
                                                                                                                ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                         Taxes and Certain Other Debts
                                                                                                                          Owed to Governmental Units
                                                                                                                                      TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                O                                                           O    N   I                      AMOUNT NOT
                                                             D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                         OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
                                                             O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                       E    D   D
                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
Account No. xxxxxxxxx4967                                            7/12/11                                                  E
                                                                                                                              D

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                             7,345.61               7,345.61
Account No. xxxxxxxxxx1627                                           3/31/09

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                               699.91                 699.91
Account No. xxxxxxxxx6205                                            6/8/09

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                             4,424.19               4,424.19
Account No. xxxxxxxxx5351                                            6/3/09

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                               726.64                 726.64
Account No. xxxxxxxxx6627                                            3/31/09

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                             0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                             8,256.87               8,256.87
       2
Sheet _____    3
            of _____  continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)           21,453.22             21,453.22




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   In re         Blake Chandler Zinn                                                                                          Case No.     9:15-bk-03600
                                                                                                                 ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. xxxxxxxxx1994                                            9/15/08                                                   E
                                                                                                                               D

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises                                                                   0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                              4,183.09               4,183.09
Account No. xxxxxxxxx5346                                            7/9/08

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                              0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                              8,043.34               8,043.34
Account No. xxxxxxxxx3243                                            12/07/11

State of Florida                                                     Judgment
Department of Revenue                                                Blazin Enterprises, LLC                                                              0.00
2295 Victoria Ave.
                                                                 -
Suite 270
Fort Myers, FL 33901
                                                                                                                                              2,831.90               2,831.90
Account No.




Account No.




       3
Sheet _____    3
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)           15,058.33             15,058.33
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             54,172.50             54,172.50

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   In re         Blake Chandler Zinn                                                                                     Case No.        9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xx-xxxx08-CA                                                        2012                                                        T   T
                                                                                                                                                E
                                                                                Final Default Judgment                                          D

Advanceme, Inc.                                                                 12-000208-CA
2015 Vaughn Rd. NW                                                      X -
Building 500
Kennesaw, GA 30144
                                                                                                                                                                     29,417.34
Account No. xxxx xx xx5109                                                      9/2002
                                                                                Final Judgment
Agency for Workforce                                                            2002 SC 005109
Innovation Unemployment Comp                                                -
PO Drawer 5750
Tallahassee, FL 32314
                                                                                                                                                                       2,077.42
Account No. xx-xxxx65 SP                                                      2009
                                                                              Default Final Judgment
Asset Acceptance LLC                                                          09-000365 SP
P.O. Box 2036                                                               - Rock N Rodeo, Inc. Garnishment
Warren, MI 48090-2036

                                                                                                                                                                       4,825.97
Account No. xxxxxxxxxxxx0785                                                    Opened 7/18/89 Last Active 2/18/15
                                                                                Credit Card
Bank of America                                                                 Listed for Notice Purposes
Po Box 982235                                                               -
El Paso, TX 79998

                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 9
_____ continuation sheets attached                                                                                                                                   36,320.73
                                                                                                                              (Total of this page)




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   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
                   MAILING ADDRESS                                      D   H                                                          N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                    T   I   P
                                                                        B                                                              I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
                                                                                                                                       T   T
Account No. x xx-2329                                                           1989                                                       E
                                                                                Final Judgment                                             D

Barnett Bank of Manatee Co.
PO Box 9390                                                                 -
Bradenton, FL 34206

                                                                                                                                                                 398.76
Account No. xx-xxxx91 SP                                                        2007
                                                                                Final Judgment
Capital One Bank                                                                06-001391-SP
1500 Capital One Drive                                                      -
Richmond, VA 23238

                                                                                                                                                               2,021.62
Account No. xxxx-xxxx-xxxx-7996                                                 Credit Card

Capital One Bank, N.A.
c/o Portfolio Recovery Serv                                                 -
120 Corporate Blvd.
Norfolk, VA 23502
                                                                                                                                                               1,433.96
Account No. xx-87-SP                                                            5/2005
                                                                                Final Judgment
Carolyn Papak                                                                   05-87-SP
c/o Lance Ball, Esq.                                                        -
Ball Law Center, PA
18245 Paulson Dr.
Port Charlotte, FL 33954                                                                                                                                       3,955.00
Account No. WILL BE SUPPLIED                                                    4/22/09
                                                                                Medical Bill
Charlote County Fire & EMS
PO Box 409335                                                               -
Atlanta, GA 30384

                                                                                                                                                                 443.00

           1
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                               8,252.34
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
                   MAILING ADDRESS                                      D   H                                                          N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                    T   I   P
                                                                        B                                                              I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
                                                                                                                                       T   T
Account No. xxx5-133                                                          11/2005                                                      E
                                                                              Code Enforcement Lien                                        D

Charlotte County Code Enforc                                                  2005-133
18500 Murdock Circle                                                        - 3245 Jessica Terrace, Port Charlotte, FL
Port Charlotte, FL 33948

                                                                                                                                                                 394.27
Account No. xxxx-xxxx96-CA                                                  10/2007
                                                                            Final Default Judgment
Dryco, LLC                                                                  2005-000996-CA
1 W. Lake Street                                                        X - Coyotes Bar
Unit B                                                                      Rain Cafe and Nightspot
Northlake, IL 60164
                                                                                                                                                           139,799.00
Account No. xxx2688                                                           Opened 3/01/12
                                                                              Collection Attorney Rewards Network
Enterprise Recovery System                                                    Coyote's Bar & Grill
2400 South Wolf Road                                                        - Judgment
Westchester, IL 60154

                                                                                                                                                             68,032.00
Account No. xxxxxxxxxxxx4082                                                    Opened 11/18/09 Last Active 1/12/10
                                                                                Credit Card
First Premier Bank                                                              Listed for Notice Purposes
3820 N Louise Ave                                                           -
Sioux Falls, SD 57107

                                                                                                                                                                     0.00
Account No. xxxxxxxx0108                                                      1/31/15
                                                                              Medical Bill
FL Regional Emergency Assoc.                                                  Peace River Regional Medical Center
PO Box 919098                                                               - Michael George, MD
Orlando, FL 32891-9098

                                                                                                                                                                 866.00

           2
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                           209,091.27
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
                   MAILING ADDRESS                                      D   H                                                          N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                    T   I   P
                                                                        B                                                              I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
                                                                                                                                       T   T
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           9/2011                                                     E
                                                                                Sales and Use Tax Warrant                                  D

Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                   44.88
Account No. xxxxxxxxxx-xxxx-xx-x2016                                            2/2011
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                   70.01
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           5/2009
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,145.43
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           4/2009
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin ENterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,079.68
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           3/2009
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,427.11

           3
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                               6,767.11
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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                                  Case 2:15-bk-03600-FMD                             Doc 10            Filed 04/21/15    Page 18 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
                   MAILING ADDRESS                                      D   H                                                          N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                    T   I   P
                                                                        B                                                              I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
                                                                                                                                       T   T
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           2/2009                                                     E
                                                                                Sales and Use Tax Warrant                                  D

Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,507.83
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           1/2009
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               3,282.13
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           12/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,954.04
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           11/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,686.76
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           10/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                 139.36

           4
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             11,570.12
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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                                  Case 2:15-bk-03600-FMD                             Doc 10            Filed 04/21/15    Page 19 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
                   MAILING ADDRESS                                      D   H                                                          N   L   S
                 INCLUDING ZIP CODE,
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                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
                                                                                                                                       T   T
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           9/2008                                                     E
                                                                                Sales and Use Tax Warrant                                  D

Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                 161.18
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           8/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                 156.00
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           7/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,577.89
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           6/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                 410.64
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           5/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,832.09

           5
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                               6,137.80
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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                                  Case 2:15-bk-03600-FMD                             Doc 10            Filed 04/21/15    Page 20 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                G   I   E
                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
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Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           4/2008                                                     E
                                                                                Sales and Use Tax Warrant                                  D

Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               2,092.04
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           3/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                               1,469.06
Account No. xxxxxxxxxx-xxxx-xx-x-2016                                           2/2008
                                                                                Sales and Use Tax Warrant
Florida Dept. of Revenue                                                        Blazin Enterprises, LLC
NCO Financial Systems, Inc.                                                 -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                   47.05
Account No. xxxxxxxxxxxx3474                                                    Opened 3/11/96 Last Active 9/01/98
                                                                                JC Penny Charge Account
GECRB                                                                           Listed for Notice Purposes
Attention: Bankruptcy                                                       -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                     0.00
Account No. NEED ACCT. NUMBER                                                   7/3/13
                                                                                Medical Bill
Gold Key Credit, Inc.                                                           MED1 02 MGA Primary
PO Box 15670                                                                -
Brooksville, FL 34604-0122

                                                                                                                                                                 138.00

           6
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                               3,746.15
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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                                  Case 2:15-bk-03600-FMD                             Doc 10            Filed 04/21/15    Page 21 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
                   CREDITOR'S NAME,                                     O                                                              O   N   I
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                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
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Account No. x-xx-1047                                                         1989                                                         E
                                                                              Final Judgment                                               D

Hall, McNally & Royal Staff                                                   S-89-1047
Management, Inc.                                                            - Creative Printing Concepts, d/b/a Printmasters
3639 Cortez Road West
Bradenton, FL 34210
                                                                                                                                                               1,207.44
Account No. xx-x14-CA                                                           2007
                                                                                Final Default Judgment
John Odom General Contractor                                                    07-000914-CA
15379 Demas Ave.                                                            -
Port Charlotte, FL 33954

                                                                                                                                                               8,775.16
Account No. xx-xx-2098                                                        1990
                                                                              Final Judgment
Marie A. Cantolino                                                            CA-89-2098
c/o Mark Randall Baran, Esq.                                                - Printmasters, Inc. f/k/a Creative Printing
1919 N. Lynn Street                                                           Concepts, Inc., a Florida Corporation
Arlington, VA 22209
                                                                                                                                                               8,723.26
Account No. xxxxxxxx7467                                                        12/2013
                                                                                AT&T/Cingular Mobility
MRS Associates
1930 Olney Ave.                                                             -
Cherry Hill, NJ 08003

                                                                                                                                                                 678.99
Account No. xxxx-xx-xx0434                                                      2001
                                                                                Final Judgment-Manatee County
Paulette R. Pace, Esq.                                                          2001-SC-000434
1111 3rd Ave. W.                                                            -
Bradenton, FL 34205

                                                                                                                                                               4,158.36

           7
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             23,543.21
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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                                  Case 2:15-bk-03600-FMD                             Doc 10            Filed 04/21/15    Page 22 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Blake Chandler Zinn                                                                                    Case No.    9:15-bk-03600
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                         C   U   D
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                  (See instructions above.)                             R                                                              E   D   D
                                                                                                                                       N   A
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Account No. xxx6902                                                             1/31/15                                                    E
                                                                                Medical Bill                                               D

Peace River Regional Med Ctr                                                    Bayfront Health Port Charlotte
PO Box 405974                                                               -
Atlanta, GA 30384-5974

                                                                                                                                                                 716.73
Account No. xx-xxxx08-CA                                                    6/2011
                                                                            Final Judgment
Properties by J & J, Inc.                                                   Alcoholic Beverage License #18-01284
c/o Lee Segal, Esq.                                                     X - Listed for Notice Purposes                                 X
13575 58th St. N.
Suite 140
Clearwater, FL 33760                                                                                                                                                 0.00
Account No. xx-xx34-CA                                                      2008
                                                                            Final Judgment of Foreclosure
S. Hudgins                                                                  08-1234-CA
c/o Lawrence W. Borns, P.A.                                             X - Alcohol Beverage License                                   X
412 N. Halifax Avenue                                                       No. 18-01368-4COP
Daytona Beach, FL 32118                                                     Listed for Notice Purposes
                                                                                                                                                                     0.00
Account No. xxxx-xx-xx65-NC                                                 2006
                                                                            Final Default Judgment
Steven King                                                                 2006-CA-0065-NC
1451 Rebecca Lane                                                       X - Blake Zinn & Blazin Enterprises, LLC d/b/a
Sarasota, FL 34231                                                          Rain Cafe & Nightspot


                                                                                                                                                             76,789.84
Account No. xx-xxxx-SP-12                                                       09/1997
                                                                                Final Judgment
Susan T. McDaniel                                                               90-2663-SP-12
4104 King Richard Dr.                                                       -
Sarasota, FL 34232

                                                                                                                                                                 886.50

           8
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                             78,393.07
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of this page)




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                                  Case 2:15-bk-03600-FMD                             Doc 10            Filed 04/21/15        Page 23 of 55
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Blake Chandler Zinn                                                                                       Case No.     9:15-bk-03600
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxx xx xx60 NC                                                     2002                                                           E
                                                                                2001 CA 9560 NC                                                D

SZS Sales, Inc. d/b/a Action                                                    Listed for Notice Purposes
Jet Ski West                                                                -
c/o Michael T. Robertson,Esq
1800 Second St., Ste. 30
Sarasota, FL 34236                                                                                                                                                       0.00
Account No.                                                                     1/2008
                                                                                Judgment
Tracy L. & Janette A. Nelson                                                    Blazin Enterprises
Powell Carney Maller Ramsay                                                 -
& Grove, P.A.
One Progress Plaza, Suite 12
Saint Petersburg, FL 33701                                                                                                                                         8,970.77
Account No.




Account No.




Account No.




           9
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                   8,970.77
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)              392,792.57


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                                 Case 2:15-bk-03600-FMD                    Doc 10         Filed 04/21/15           Page 24 of 55
B6G (Official Form 6G) (12/07)


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  In re             Blake Chandler Zinn                                                                         Case No.      9:15-bk-03600
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                 Case 2:15-bk-03600-FMD                  Doc 10    Filed 04/21/15           Page 25 of 55
B6H (Official Form 6H) (12/07)


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  In re          Blake Chandler Zinn                                                                     Case No.      9:15-bk-03600
                                                                                               ,
                                                                             Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                  ACT RestorationServices Inc                                     Dryco, LLC
                  12610 West Airport Blvd.                                        1 W. Lake Street
                  Suite 120                                                       Unit B
                  Sugar Land, TX 77478                                            Northlake, IL 60164

                  Advanceme, Inc.                                                 MidFirst Bank/Midland Mortgage
                  c/o Secretary of State                                          Attention: Bankruptcy
                  26610Executive Center Circle                                    Po Box 26648
                  Tallahassee, FL 32301                                           Oklahoma City, OK 73216

                  Agency for Work Force                                           MidFirst Bank/Midland Mortgage
                  Innovation Unemployment Comp                                    Attention: Bankruptcy
                  107 E. Madison Street                                           Po Box 26648
                  Caldwell Building                                               Oklahoma City, OK 73216
                  Tallahassee, FL 32399

                  Arbor Oaks I, LLC                                               Dryco, LLC
                  The Oak Point Prof. Ctr.                                        1 W. Lake Street
                  5070 N Highway A-1-A                                            Unit B
                  Suite 200                                                       Northlake, IL 60164
                  Vero Beach, FL 32963

                  Arbor Oaks II, LLC                                              Dryco, LLC
                  The Oak Point Prof. Ctr.                                        1 W. Lake Street
                  5070 N Highway A-1-A                                            Unit B
                  Suite 200                                                       Northlake, IL 60164
                  Vero Beach, FL 32963

                  Asset Acceptance LLC                                            MidFirst Bank/Midland Mortgage
                  c/o Corporation Service Comp                                    Attention: Bankruptcy
                  1201 Hays Street                                                Po Box 26648
                  Tallahassee, FL 32301                                           Oklahoma City, OK 73216

                  Blazin Enterprises, LLC                                         S. Hudgins
                  4300 Kings Highway                                              c/o Lawrence W. Borns, P.A.
                  Suite 412                                                       412 N. Halifax Avenue
                  Port Charlotte, FL 33980                                        Daytona Beach, FL 32118

                  Blazin Enterprises, LLC                                         Dryco, LLC
                  4300 Kings Highway                                              1 W. Lake Street
                  Suite 412                                                       Unit B
                  Port Charlotte, FL 33980                                        Northlake, IL 60164

                  Blazin Enterprises, LLC                                         Advanceme, Inc.
                  4300 Kings Highway                                              2015 Vaughn Rd. NW
                  Suite 412                                                       Building 500
                  Port Charlotte, FL 33980                                        Kennesaw, GA 30144



       3
               continuation sheets attached to Schedule of Codebtors
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                                 Case 2:15-bk-03600-FMD                  Doc 10        Filed 04/21/15       Page 26 of 55




  In re         Blake Chandler Zinn                                                                        Case No.   9:15-bk-03600
                                                                                                 ,
                                                                                 Debtor

                                                                  SCHEDULE H - CODEBTORS
                                                                        (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR


                   Blazin Enterprises, LLC                                            Steven King
                   4300 Kings Highway                                                 1451 Rebecca Lane
                   Suite 412                                                          Sarasota, FL 34231
                   Port Charlotte, FL 33980

                   Blazin Enterprises, LLC                                            Properties by J & J, Inc.
                   4300 Kings Highway                                                 c/o Lee Segal, Esq.
                   Suite 412                                                          13575 58th St. N.
                   Port Charlotte, FL 33980                                           Suite 140
                                                                                      Clearwater, FL 33760

                   Capital One Bank                                                   MidFirst Bank/Midland Mortgage
                   c/o Secretary of State                                             Attention: Bankruptcy
                   2661 Executive Center Circle                                       Po Box 26648
                   Tallahassee, FL 32301                                              Oklahoma City, OK 73216

                   Capital One Bank (USA) NA                                          MidFirst Bank/Midland Mortgage
                   c/o Secretary of State                                             Attention: Bankruptcy
                   2661 Executive Center Circle                                       Po Box 26648
                   Tallahassee, FL 32301                                              Oklahoma City, OK 73216

                   Charlotte Count                                                    MidFirst Bank/Midland Mortgage
                   Board of Comissioners                                              Attention: Bankruptcy
                   18500 Murdock Circle                                               Po Box 26648
                   Port Charlotte, FL 33948                                           Oklahoma City, OK 73216

                   Charlotte County Florida                                           MidFirst Bank/Midland Mortgage
                   18500 Murdock Circle                                               Attention: Bankruptcy
                   Suite 536                                                          Po Box 26648
                   Port Charlotte, FL 33948                                           Oklahoma City, OK 73216

                   Florida Department of Revenu                                       Properties by J & J, Inc.
                   5050 W. Tennessee Street                                           c/o Lee Segal, Esq.
                   Tallahassee, FL 32399                                              13575 58th St. N.
                                                                                      Suite 140
                                                                                      Clearwater, FL 33760

                   Florida Division of Alcohol                                        Properties by J & J, Inc.
                   and Tobacco                                                        c/o Lee Segal, Esq.
                   c/o Josh Moye, Esq.                                                13575 58th St. N.
                   1940 N Monroe Street                                               Suite 140
                   Tallahassee, FL 32399                                              Clearwater, FL 33760

                   Gerard Vairo                                                       Steven King
                   Vairo & Assoc., Inc.                                               1451 Rebecca Lane
                   2150 Tamiami Trail                                                 Sarasota, FL 34231
                   #12
                   Port Charlotte, FL 33948




     Sheet     1     of 3         continuation sheets attached to the Schedule of Codebtors

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                                 Case 2:15-bk-03600-FMD                  Doc 10        Filed 04/21/15        Page 27 of 55




  In re         Blake Chandler Zinn                                                                         Case No.   9:15-bk-03600
                                                                                                 ,
                                                                                 Debtor

                                                                  SCHEDULE H - CODEBTORS
                                                                        (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR


                   Jason A. Lessinger, Esq.                                           Dryco, LLC
                   Icard Merrill Cullis                                               1 W. Lake Street
                   2033 Main Street                                                   Unit B
                   Suite 600                                                          Northlake, IL 60164
                   Sarasota, FL 34237

                   John J. Janick                                                     Dryco, LLC
                   Janick Professional Ctr.                                           1 W. Lake Street
                   4369 Tamiami Trail                                                 Unit B
                   Port Charlotte, FL 33948                                           Northlake, IL 60164

                   John Odom General Contractor                                       MidFirst Bank/Midland Mortgage
                   15379 Demas Ave.                                                   Attention: Bankruptcy
                   Port Charlotte, FL 33954                                           Po Box 26648
                                                                                      Oklahoma City, OK 73216

                   John V. Quinlan, Esq.                                              Steven King
                   Greene, Hamrick, Quinlan                                           1451 Rebecca Lane
                   & Schermer, PA                                                     Sarasota, FL 34231
                   601 12th St. W.
                   Bradenton, FL 34205

                   Leonard M. Johnson, Esq.                                           Steven King
                   Leonard M. Johnson, PA                                             1451 Rebecca Lane
                   126 East Olympia Ave.                                              Sarasota, FL 34231
                   Punta Gorda, FL 33950

                   Malon D. Mimms, Revocable Tr                                       Dryco, LLC
                   85-A Mill Street                                                   1 W. Lake Street
                   Suite 100                                                          Unit B
                   Roswell, GA 30075                                                  Northlake, IL 60164

                   Marc J. Gutterman, Esq.                                            Steven King
                   Conroy, Simberg, Ganon,                                            1451 Rebecca Lane
                   Krevans, Abel, Lurvey,                                             Sarasota, FL 34231
                   3440 Hollywood Blvd., 2nd FL
                   Hollywood, FL 33021

                   Melissa Deleon                                                     Global Wholesale Motor
                   3245 Jessica Terrace                                               PO Box 2919
                   Port Charlotte, FL 33948                                           Fort Myers, FL 33902

                   Melissa Deleon                                                     Wfs Financial/Wachovia Dealer Srvs
                   3245 Jessica Terrace                                               Po Box 3569
                   Port Charlotte, FL 33948                                           Rancho Cucamonga, CA 91729

                   Murdock Village Health Ctr.                                        Dryco, LLC
                   Michael McKinley, Reg. Agt.                                        1 W. Lake Street
                   223 Taylor Street                                                  Unit B
                   Punta Gorda, FL 33950                                              Northlake, IL 60164




     Sheet     2     of 3         continuation sheets attached to the Schedule of Codebtors

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  In re         Blake Chandler Zinn                                                                         Case No.   9:15-bk-03600
                                                                                                 ,
                                                                                 Debtor

                                                                  SCHEDULE H - CODEBTORS
                                                                        (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR


                   Paulette R. Pace, Esq.                                             MidFirst Bank/Midland Mortgage
                   313 Scott AVe.                                                     Attention: Bankruptcy
                   Sarasota, FL 34243                                                 Po Box 26648
                                                                                      Oklahoma City, OK 73216

                   Premier Beverage Co, LLC                                           Properties by J & J, Inc.
                   Corp. Service Co. R/A                                              c/o Lee Segal, Esq.
                   1201 Hays Street                                                   13575 58th St. N.
                   Tallahassee, FL 32301-2525                                         Suite 140
                                                                                      Clearwater, FL 33760

                   S. Hudgins                                                         MidFirst Bank/Midland Mortgage
                   1139 N. Halifax Ave.                                               Attention: Bankruptcy
                   Daytona Beach, FL 32118                                            Po Box 26648
                                                                                      Oklahoma City, OK 73216

                   State of Florida                                                   S. Hudgins
                   Department of Revenue                                              c/o Lawrence W. Borns, P.A.
                   c/o John Mika, Esq.                                                412 N. Halifax Avenue
                   PL-01, The Capitol, Rev. Lit                                       Daytona Beach, FL 32118
                   Tallahassee, FL 32399

                   State of Florida, Dept. of                                         S. Hudgins
                   Business & Professional                                            c/o Lawrence W. Borns, P.A.
                   Regulation,                                                        412 N. Halifax Avenue
                   1940 N. Monroe St.                                                 Daytona Beach, FL 32118
                   Tallahassee, FL 32399

                   Steven King                                                        MidFirst Bank/Midland Mortgage
                   1451 Rebecca Lane                                                  Attention: Bankruptcy
                   Sarasota, FL 34231                                                 Po Box 26648
                                                                                      Oklahoma City, OK 73216

                   Tracy & Janette Nelson                                             Dryco, LLC
                   1105 Taylor Road                                                   1 W. Lake Street
                   Unit G                                                             Unit B
                   Punta Gorda, FL 33950                                              Northlake, IL 60164

                   United States of America                                           MidFirst Bank/Midland Mortgage
                   Housing & Urban Development                                        Attention: Bankruptcy
                   400 N Tampa Street                                                 Po Box 26648
                   Park Tower #3200                                                   Oklahoma City, OK 73216
                   Tampa, FL 33602

                   United States of America                                           MidFirst Bank/Midland Mortgage
                   Internal Revenue Service                                           Attention: Bankruptcy
                   400 N Tampa Street                                                 Po Box 26648
                   Park Tower #3200                                                   Oklahoma City, OK 73216
                   Tampa, FL 33602




     Sheet     3     of 3         continuation sheets attached to the Schedule of Codebtors

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Fill in this information to identify your case:

Debtor 1                      Blake Chandler Zinn

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF FLORIDA

Case number               9:15-bk-03600                                                                  Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing post-petition chapter
                                                                                                             13 income as of the following date:

Official Form B 6I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
                                             Employment status
       attach a separate page with
                                                                      Not employed                                 Not employed
       information about additional
       employers.                            Occupation            Restaurant Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Rock N' Rodeo, Inc.                          Charlotte Heart & Vascular

       Occupation may include student        Employer's address    4300 Kings Highway
       or homemaker, if it applies.                                Suite 412                                    3340 Tamiami Trail
                                                                   Port Charlotte, FL 33980                     Port Charlotte, FL 33952

                                             How long employed there?         3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         3,141.67        $         1,921.44

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      3,141.67               $   1,921.44




Official Form B 6I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    Blake Chandler Zinn                                                                   Case number (if known)    9:15-bk-03600


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      3,141.67       $         1,921.44

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        645.67   $               137.95
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                 0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                 0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                 0.00
      5e.    Insurance                                                                     5e.        $          0.00   $                55.44
      5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
      5g.    Union dues                                                                    5g.        $          0.00   $                 0.00
      5h.    Other deductions. Specify: AFLAC (post tax) - Melissa                         5h.+       $          0.00 + $                10.92
             AFLAC (pre tax) - Melissa                                                                $          0.00   $                73.71
             Dental - Melissa                                                                         $          0.00   $                 3.29
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            645.67       $           281.31
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,496.00       $        1,640.13
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $           407.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $             0.00
      8e. Social Security                                                                  8e.        $              0.00   $             0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           407.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,496.00 + $       2,047.13 = $           4,543.13
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          4,543.13
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor anticipates an increase in income from a raise beginning May 1, 2015 of approximately
                             $600.00 - $700.00 a month.




Official Form B 6I                                                     Schedule I: Your Income                                                       page 2
                           Case 2:15-bk-03600-FMD                         Doc 10        Filed 04/21/15                Page 31 of 55



Fill in this information to identify your case:

Debtor 1                 Blake Chandler Zinn                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing post-petition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA                                                 MM / DD / YYYY

Case number           9:15-bk-03600                                                                                  A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                                                   12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                        No
      dependents' names.                                                                                                                      Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                973.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                  0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                  0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                  0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                  0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                  0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                   page 1
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Debtor 1     Blake Chandler Zinn                                                                       Case number (if known)      9:15-bk-03600

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 180.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 453.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                335.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 88.00
10.   Personal care products and services                                                    10. $                                                  34.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 244.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  241.14
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).          18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Your monthly expenses. Add lines 4 through 21.                                                           22.     $                       2,598.14
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,543.13
    23b. Copy your monthly expenses from line 22 above.                                                    23b. -$                              2,598.14

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,944.99

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:




Official Form B 6J                                                  Schedule J: Your Expenses                                                       page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Blake Chandler Zinn                                                                             Case No.   9:15-bk-03600
                                                                                  Debtor(s)                 Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                   DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of            32
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date April 21, 2015                                                  Signature   /s/ Blake Chandler Zinn
                                                                                  Blake Chandler Zinn
                                                                                  Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                               United States Bankruptcy Court
                                                                      Middle District of Florida
 In re      Blake Chandler Zinn                                                                                 Case No.      9:15-bk-03600
                                                                                 Debtor(s)                      Chapter       13

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

            "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

   None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                 SOURCE
                          $7,250.00                              2015 YTD: Debtor Rock N' Rodeo
                          $0.00                                  2014: Debtor WILL BE SUPPLIED
                          $0.00                                  2013: Debtor WILL BE SUPPLIED

               2. Income other than from employment or operation of business

   None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                 SOURCE



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B7 (Official Form 7) (04/13)
2
               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were
               made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
               approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
               payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS                                                     DATES OF                                                         AMOUNT STILL
    OF CREDITOR                                                       PAYMENTS                               AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                      DATES OF                                      PAID OR
                                                                      PAYMENTS/                                   VALUE OF             AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                         TRANSFERS                                  TRANSFERS               OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                        AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                     NATURE OF          COURT OR AGENCY                                   STATUS OR
 AND CASE NUMBER                                                     PROCEEDING         AND LOCATION                                      DISPOSITION
 Midfirst Bank                                                       Civil              In the Circuit Civil Court of the                 Judgment
                                                                                        Twentieth Judicial Circuit of Florida, In
 v.                                                                                     and For Charlotte County

 Blake C. Zinn a/k/a Blake Zinn, et al.
 Case No. 08-2014-CA-000415

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                PROPERTY




  *
      Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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B7 (Official Form 7) (04/13)
3
               5. Repossessions, foreclosures and returns

   None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,       DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN               PROPERTY

               6. Assignments and receiverships

   None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                 TERMS OF ASSIGNMENT OR SETTLEMENT

   None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

   None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT

               8. Losses

   None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

   None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                              AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                   OF PROPERTY
 Martella Law Firm, P.L.                                                 12/4/14                                     $1500.00
 18501 Murdock Circle
 Suite 304
 Port Charlotte, FL 33948



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                                                                        DATE OF PAYMENT,                                     AMOUNT OF MONEY
 NAME AND ADDRESS                                                    NAME OF PAYER IF OTHER                              OR DESCRIPTION AND VALUE
     OF PAYEE                                                              THAN DEBTOR                                          OF PROPERTY
 Consumer Credit Counseling Services                                 12/4/2014                                          $110.00
 273 Tamiami Trail S. Venice
 Venice, FL 34285

               10. Other transfers

   None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                          DATE                               AND VALUE RECEIVED

   None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                              DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                     TRANSFER(S)                 IN PROPERTY

               11. Closed financial accounts

   None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                       TYPE OF ACCOUNT, LAST FOUR
                                                                       DIGITS OF ACCOUNT NUMBER,                         AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING

               12. Safe deposit boxes

   None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                     DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                     OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

   None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF                                      AMOUNT OF SETOFF

               14. Property held for another person

   None        List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY


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               15. Prior address of debtor

   None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                             NAME USED                                         DATES OF OCCUPANCY

               16. Spouses and Former Spouses

   None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

   None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                        LAW

   None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                        LAW

   None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                   DOCKET NUMBER                                     STATUS OR DISPOSITION




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               18 . Nature, location and name of business

   None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES
 Blazin Enterprises,               XX-XXXXXXX                        4300 Kings Highway           Restaurant                       2000-September 2012
 LLC                                                                 Suite 412
                                                                     Port Charlotte, FL 33980

   None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS


     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to
the signature page.)

               19. Books, records and financial statements

   None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

   None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                    ADDRESS

   None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED


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               20. Inventories

   None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

   None        b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

   None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                    NATURE OF INTEREST                                PERCENTAGE OF INTEREST

   None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                    TITLE                                 OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

   None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                                DATE OF WITHDRAWAL

   None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                    TITLE                                 DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

   None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                       DATE AND PURPOSE                                  OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                     VALUE OF PROPERTY

               24. Tax Consolidation Group.

   None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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               25. Pension Funds.

   None        If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                       TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date April 21, 2015                                                 Signature      /s/ Blake Chandler Zinn
                                                                                    Blake Chandler Zinn
                                                                                    Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Blake Chandler Zinn                                                                         Case No.   9:15-bk-03600
                                                                                 Debtor(s)              Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 21, 2015                                                 /s/ Blake Chandler Zinn
                                                                      Blake Chandler Zinn
                                                                      Signature of Debtor




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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Blake Chandler Zinn                                                                              Case No.      9:15-bk-03600
                                                                                Debtor(s)                     Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,300.00
             Prior to the filing of this statement I have received                                        $                  1,500.00
             Balance Due                                                                                  $                  3,800.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached. I may share up to $75.00
            of my fee with Holly A. McFall, Esq., should he be required to cover the 341 meeting.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from the stay
               actions or any other adversary proceeding.
                                                                         CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      April 21, 2015                                                     /s/ Mark Martella
                                                                                Mark Martella 0024021
                                                                                Martella Law Firm, P.L.
                                                                                18501 Murdock Circle
                                                                                Suite 304
                                                                                Port Charlotte, FL 33948
                                                                                941-206-3700 Fax: 941-206-3701
                                                                                mark@martellalaw.com




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 Fill in this information to identify your case:                                                        Check as directed in lines 17 and 21:
                                                                                                          According to the calculations required by this
 Debtor 1            Blake Chandler Zinn                                                                  Statement:

 Debtor 2                                                                                                       1. Disposable income is not determined under
 (Spouse, if filing)                                                                                               11 U.S.C. § 1325(b)(3).

                                                                                                                2. Disposable income is determined under 11
 United States Bankruptcy Court for the:            Middle District of Florida                                     U.S.C. § 1325(b)(3).


 Case number         9:15-bk-03600                                                                              3. The commitment period is 3 years.
 (if known)
                                                                                                                4. The commitment period is 5 years.


                                                                                                               Check if this is an amended filing

Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                       12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                    Column A             Column B
                                                                                                    Debtor 1             Debtor 2 or
                                                                                                                         non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                      3,129.77      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                         $            0.00    $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                      407.00    $
  5. Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)               $    0.00
       Ordinary and necessary operating expenses                         -$       0.00
       Net monthly income from a business, profession, or farm $                  0.00 Copy here -> $            0.00    $

  6. Net income from rental and other real property
       Gross receipts (before all deductions)                             $       0.00
       Ordinary and necessary operating expenses                         -$       0.00
       Net monthly income from rental or other real property             $        0.00 Copy here -> $            0.00    $




Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 1
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 Debtor 1     Blake Chandler Zinn                                                                      Case number (if known)   9:15-bk-03600

                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
                                                                                                   $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                     $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                        $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total on line 10c.
            10a.                                                                                   $                  0.00      $
            10b.                                                                                   $                  0.00      $
            10c. Total amounts from separate pages, if any.                                      + $                  0.00      $

  11. Calculate your total average monthly income. Add lines 2 through 10 for                                        +$                       =$
      each column. Then add the total for Column A to the total for Column B.               $     3,536.77                                               3,536.77

                                                                                                                                                      Total average
                                                                                                                                                      monthly income

 Part 2:        Determine How to Measure Your Deductions from Income


  12. Copy your total average monthly income from line 11.                                                                                    $          3,536.77
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 on line 3d.
              You are married and your spouse is filing with you. Fill in 0 in line 13d.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 on line 13d.
              13a.                                                                           $
              13b.                                                                           $
              13c.                                                                          +$

              13d. Total                                                                    $                 0.00         Copy here=> 13d.       -               0.00



  14. Your current monthly income. Subtract line 13d from line 12.                                                                     14.    $          3,536.77



  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                      15a. $             3,536.77

                   Multiply line 15a by 12 (the number of months in a year).                                                                          x 12

        15b. The result is your current monthly income for the year for this part of the form.                                        15b. $            42,441.24




Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 2
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 Debtor 1     Blake Chandler Zinn                                                                Case number (if known)   9:15-bk-03600


  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                         FL

       16b. Fill in the number of people in your household.               2
       16c. Fill in the median family income for your state and size of household.                                           16c.         $     52,421.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that form, copy your
                      current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                   18. $                   3,536.77
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                        19a.-$                       0.00


       Subtract line 19a from line 18.                                                                                       19b.     $          3,536.77


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                    20a.         $      3,536.77

              Multiply by 12 (the number of months in a year).                                                                                x 12

       20b. The result is your current monthly income for the year for this part of the form                                 20b.         $     42,441.24




       20c. Copy the median family income for your state and size of household from line 16c                                              $     52,421.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Blake Chandler Zinn
        Blake Chandler Zinn
        Signature of Debtor 1
       Date April 21, 2015
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 22C-2.
       If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 3
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                             Case 2:15-bk-03600-FMD                              Doc 10   Filed 04/21/15        Page 47 of 55


 Fill in this information to identify your case:

 Debtor 1            Blake Chandler Zinn

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Middle District of Florida

 Case number         9:15-bk-03600
 (if known)                                                                                                    Check if this is an amended filing

Official Form 22C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                         12/14

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly income and Calculation of
Commitment Period (Official Form 22C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    22C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 22C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    1
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $               583.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                         page 1
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 Debtor 1         Blake Chandler Zinn                                                                  Case number (if known)     9:15-bk-03600


    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person             $             60

            7b. Number of people who are under 65                          X         1

            7c. Subtotal. Multiply line 7a by line 7b.                     $        60.00         Copy line 7c here=>     $             60.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person             $          144

            7e. Number of people who are 65 or older                       X         0

            7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00         Copy line 7f here=>     $              0.00


            7g. Total. Add line 7c and line 7f                                                $         60.00            Copy total here=> 7g. $              60.00



    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
    Housing and utilities - Insurance and operating expenses
    housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               425.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                     $            976.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                   Name of the creditor                                        Average monthly
                                                                               payment

                   MidFirst Bank/Midland Mortgage                              $          973.00


                                                                                                        Copy line                                  Repeat this amount
                                    9b. Total average monthly payment          $          973.00        9b here=> -$                   973.00 on line 33a.

            9c. Net mortgage or rent expense.

                                                                                                                                         Copy
                   Subtract line 9b (total average monthly payment) from line 9a (mortgage                                               line 9c
                   or rent expense). If this number is less than $0, enter $0.                        9c. $                     3.00     here=>     $              3.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                 $               0.00

             Explain why:




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                                     page 2
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 Debtor 1     Blake Chandler Zinn                                                                    Case number (if known)   9:15-bk-03600

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.
               1. Go to line 12.

               2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                 $         488.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1        Describe Vehicle 1: 2003 Ford F-250 SD approx. mileage: WILL BE SUPPLIED
                                                  VIN: 1FTNW21L43EB61855 Location: 3245 Jessica Terrace,
                                                  Port Charlotte FL 33948
    13a. Ownership or leasing costs using IRS Local Standard                                 13a.         $           517.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then dived by 60.

                 Name of each creditor for Vehicle 1                           Average monthly
                                                                               payment

                 Global Wholesale Motor                                        $         420.00
                                                                                             Copy 13b                           Repeat this amount
                                                                                             here => -$               420.00 on line 33b.
    13c. Net Vehicle 1 ownership or lease expense                                                                                 Copy net
                                                                                                                                  Vehicle 1
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                            expense
                                                                                                 13c.      $            97.00     here => $             97.00


     Vehicle 2        Describe Vehicle 2: 2012 Honda Civic LX approx. mileage: WILL BE SUPPLIED
                                                  VIN: WILL BE SUPPLIED Location: 3245 Jessica Terrace, Port
                                                  Charlotte FL 33948
    13d. Ownership or leasing costs using IRS Local Standard                                 13d.         $           517.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                           Average monthly
                                                                               payment

                 Wfs Financial/Wachovia Dealer Srvs                            $         375.08
                                                                                             Copy 13e
                                                                                             here => -$               375.08
    13f. Net Vehicle 2 ownership or lease expense                                                                                 Copy net
                                                                                                                                  Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0.                                            expense
                                                                                                  13f.     $          141.92      here => $           141.92


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                               $             0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                               $             0.00




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                            page 3
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 Debtor 1     Blake Chandler Zinn                                                                     Case number (if known)   9:15-bk-03600

    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                  $          783.62
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.              $              0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                                $              0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.         $              0.00
    20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.              $              0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                         $              0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                        $              0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 22C-1, or any amount you previously deducted.                        +$              0.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                $      2,581.54
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $          58.73
            Disability insurance                                          $            0.00
            Health savings account                                      +$             0.00

            Total                                                             $       58.73       Copy total here=>                      $             58.73


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                       $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses.                                         $              0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                        $              0.00




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                           page 4
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 Debtor 1     Blake Chandler Zinn                                                                              Case number (if known)   9:15-bk-03600

    28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
        allowance on line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in the
            non-mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.                       $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $                 0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                            $                 0.00

    32. Add all of the additional expense deductions                                                                                                   $            58.73
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33g.
           To calculate the total average monthly payment, add all amounts that are contractually due to each secured
           creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $             973.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $             420.00
    33c.      Copy line 13e here                                                                                                              =>   $             375.08
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?

                                                                                                                                        No
    33d. -NONE-                                                                                                                         Yes        $


                                                                                                                                        No
    33e.                                                                                                                                Yes        $


                                                                                                                                        No
    33f.                                                                                                                                Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33g. Total average monthly payment. Add lines 33a through 33f                                                  $           1,768.08       here=>       $    1,768.08




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                                           page 5
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 Debtor 1     Blake Chandler Zinn                                                                                       Case number (if known)     9:15-bk-03600

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.

     Name of the creditor                                Identify property that secures the debt                             Total cure amount                     Monthly cure
                                                                                                                                                                   amount

     -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                           Copy
                                                                                                                                                           total
                                                                                                                 Total $                         0.00      here=>           $             0.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No.    Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims                                                           $           54,172.50          ÷ 60        $             902.89

    36. Projected monthly Chapter 13 plan payment                                                                            $
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                         Copy total
        Average monthly administrative expense                                                                                   $                       here=> $



    37. Add all of the deductions for debt payment.                                                                                                                     $        2,670.97
        Add lines 33g through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                $              2,581.54
            Copy line 32, All of the additional expense deductions                            $                  58.73
            Copy line 37, All of the deductions for debt payment                            +$               2,670.97


            Total deductions                                                                  $              5,311.24                Copy total here=>              $               5,311.24




Official Form 22C-2                                          Chapter 13 Calculation of Your Disposable Income                                                                           page 6
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 Debtor 1    Blake Chandler Zinn                                                                       Case number (if known)     9:15-bk-03600

 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period                                                 $                  3,536.77
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 22C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                 407.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                   0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here.               =>    $            5,311.24
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

      43a.                                                                            $

      43b.                                                                            $

      43c.                                                                            $

                                                                                                              Copy 43d
      43d. Total. Add lines 43a through 43c.                                      $               0.00        here=> $                    0.00


                                                                                                                                     Copy total
    44. Total adjustments. Add lines 40 through 43d.                                              =>      $          5,718.24        here=> -$           5,718.24


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                       $         -2,181.47


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 22C-1 or the expenses you
        reported in this form have changed or are virtually certain to change after the date you filed
        your bankruptcy petition and during the time your case will be open, fill in the information
        below. For example, if the wages reported increased after you filed your petition, check
        22C-1 in the first column, enter line 2 in the second column, explain why the wages
        increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or        Amount of change
                                                                                                                   decrease?

       22C-1                                                                                                          Increase
       22C-2                                                                                                          Decrease        $
       22C-1                                                                                                          Increase
       22C-2                                                                                                          Decrease        $
       22C-1                                                                                                          Increase
       22C-2                                                                                                          Decrease        $
       22C-1                                                                                                          Increase
       22C-2                                                                                                          Decrease        $




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                                page 7
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 Debtor 1     Blake Chandler Zinn                                                                  Case number (if known)   9:15-bk-03600




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Blake Chandler Zinn
             Blake Chandler Zinn
             Signature of Debtor 1
    Date April 21, 2015
         MM / DD / YYYY




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                           page 8
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 Debtor 1    Blake Chandler Zinn                                                                   Case number (if known)   9:15-bk-03600


                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 10/01/2014 to 03/31/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Charlotte Heart & Vascular Institute
Income by Month:
 6 Months Ago:                                    10/2014                  $1,828.19
 5 Months Ago:                                    11/2014                  $1,855.75
 4 Months Ago:                                    12/2014                  $2,469.56
 3 Months Ago:                                    01/2015                  $1,664.65
 2 Months Ago:                                    02/2015                  $1,785.03
 Last Month:                                      03/2015                  $1,925.43
                                 Average per month:                        $1,921.44




Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Rock N' Rodeo, Inc.
Income by Month:
 6 Months Ago:                                    10/2014                      $0.00
 5 Months Ago:                                    11/2014                      $0.00
 4 Months Ago:                                    12/2014                      $0.00
 3 Months Ago:                                    01/2015                  $1,450.00
 2 Months Ago:                                    02/2015                  $2,900.00
 Last Month:                                      03/2015                  $2,900.00
                                 Average per month:                        $1,208.33




Line 4 & 54 - Child support income (including foster care and disability)
Source of Income: Melissa's child support - her child
Income by Month:
 6 Months Ago:                                    10/2014                    $407.00
 5 Months Ago:                                    11/2014                    $407.00
 4 Months Ago:                                    12/2014                    $407.00
 3 Months Ago:                                    01/2015                    $407.00
 2 Months Ago:                                    02/2015                    $407.00
 Last Month:                                      03/2015                    $407.00
                                 Average per month:                          $407.00




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                        page 9
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